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    EXHIBIT 2
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                                                                            LAURO & SINGER
                                                                                           FLORIDA  NEW YORK
              FLORIDA
      400 N. Tampa Street
                 15th Floor
     Tampa, Florida 33602
          P. 813.222.8990
                               October 23, 2023
          F. 813.222.8991

      1101 Brickell Avenue     Via Email: MGG@usdoj.gov; TPW@usdoj.gov
     South Tower, 8th Floor
          Miami, FL 33131
          P. 813.222.8990
                               Molly Gaston
                               Thomas P. Windom
           NEW YORK            Senior Assistant Special Counsels
        250 E. 53rd Street     950 Pennsylvania Avenue NW
               Suite 1701      Room B-206
New York, New York 10022
          P. 646.746.8659
                               Washington, D.C. 20530

                                 Re:     United States v. Donald J. Trump, No. 23 Cr. 257 (TSC)
WWW . LAUROSINGER . COM
                               Dear Ms. Gaston and Mr. Windom:

                                       We write on behalf of President Trump, to request that your office
                               produce the following discovery pursuant to Rule 16(a)(1)(E), Brady v.
                               Maryland, 373 U.S. 83 (1963), United States v. Agurs, 427 U.S. 97 (1976),
                               Giglio v. United States, 405 U.S. 150 (1972) and their progeny; and the Fifth
                               and Sixth Amendments to the United States Constitution. Simply pointing to
                               the voluminous discovery produced as satisfaction of your constitutional
                               obligations is not sufficient. In furtherance of your offer “to exceed [your]
                               discovery obligations” and “provide substantial assistance to aid the
                               Defendant’s review” (doc. 23 at 4), we request that you specifically search for
                               and produce discovery responsive to the following discrete requests.

                              I. Background

                                         Each of the Requests set forth below calls for production of documents
                               irrespective of their classification level. As used herein, the term “documents”
                               includes (i) all communications, including memoranda, reports, letters, notes,
                               emails, text messages, and other electronic communications; (ii) hard copies
                               and electronically stored information, whether written, printed, or typed; and
                               (iii) all drafts and copies.

                                        As used herein, the term “foreign influence” is broader than the
                               definition of the term “foreign interference” in Executive Order 13848 and
                               includes any overt or covert effort by foreign governments and non-state
                               actors, as well as agents and associates of foreign governments and non-state
                               actors, intended to affect directly or indirectly a US person or policy or process
                               of any federal, state, or local government actor or agency in the United States.
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       The Requests call for specified documents in the possession of the prosecution team, as we
defined that term in our October 15, 2023 letter to you.

 II.   Requests

        1.     Please provide all documents regarding informants, cooperators, undercover
agents, representatives, or anyone acting in a similar capacity on behalf of or at the behest of the
Department of Justice or any law enforcement agency (including state or District of Columbia)
who was present at or within five miles of the United States Capitol on January 6, 2021.

        2.     Please provide all documents regarding informants, cooperators, undercover
agents, representatives, or anyone acting in a similar capacity on behalf of or at the behest of the
Department of Justice or any law enforcement agency (including state or District of Columbia)
who were involved in the assistance, planning, or encouragement of any activities related to the
protest, breach, or trespassing of the United States Capitol on January 6, 2021.

       3.      Please identify all consideration or things of value given to or on behalf of each
person present at or involved in any activities related to the protest, breach, or trespassing of the
United States Capitol on January 6, 2021.

       4.     Please provide all documents regarding requests for security, National Guard, or
any law enforcement presence related to the Ellipse rally or any other protest or demonstration
within Washington D.C. on January 6, 2021.

        5.      Please provide all documents regarding the use of alternate electors in prior
elections, including documents regarding any investigations relating to alternate electors.

       6.     Please provide all documents regarding State Legislature involvement, approval, or
acquiescence to alternate electors in any election.

        7.      Please provide all legal opinions considered by State Legislatures regarding
alternate electors in any election.

        8.      Please provide all documents relating to investigations relating to fraud,
interference (including but not limited to foreign interference), or irregularities during the 2020
election, including but not limited to documents relating to:

               a.      The issues alleged in paragraphs 12(a) – 12(f) of the Indictment;

               b.      The election security and integrity risks arising from the cyberattack and
data breach relating to SolarWinds, Microsoft, and VMWare in or about 2020;

               c.      Dominion Voting Systems and its voting-system products, including ballot-
marking devices, precinct-count optical scanners, central count optical scanners, any other ballot
scanners, and all versions of the Dominion Democracy Suite voting system;
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                d.        The Russian advanced persistent threat actor activity “targeting various
U.S. state, local, territorial, and tribal (SLTT) government networks,” including activities that pose
“risk to elections information housed on SLTT networks” (SCO-07608691);

                e.     The Iranian advanced persistent threat actor activity “targeting U.S. state
websites,” “to include election websites” (SCO-06616206);

                f.     Documents prepared by, or relating to, Allied Security Group’s election-
related investigative work and analysis.

               g.      Documents related to the investigation of GBI Strategies or other
investigations of possible nationwide voter registration fraud;

              h.      Documents related to the December 23, 2020 request by Corey Ellis of the
Executive Office for United States Attorneys for identification of any “recently opened (in the past
90 days) Election related fraud matter” (SCO-12665132), including all communications and
submissions in response to the request;


                i.     Documents related to the investigation of voting anomalies or irregularities
in the 2020 election, including, but not limited to, the total number of votes exceeding past
elections either nationally or in particular states or localities, the total votes exceeding support for
one candidate compared to past elections, significant or late shifts in voting totals toward one
candidate, signature verification, ballots sent out without requests, ballot harvesting, and any other
quantitative or qualitative anomalies or irregularities in the 2020 election compared to past
elections.

             j.     Documents provided to President Trump and/or his advisors between
November 3, 2020, and January 6, 2021, suggesting fraud, irregularities, or anomalies in any State
election.

                k.      Documents regarding changes or amendments to State election statutes,
rules, guidelines, or policies prior to or after the 2020 election, including any documents reflecting
analysis, views, positions, or opinions by personnel from DOJ or the Special Counsel’s Office
regarding the propriety or legislative approval for such changes or amendments.

               l.      Documents regarding activities or responses by State Legislatures following
the 2020 election to investigate or address voting anomalies or irregularities, including changes or
amendments to State election statutes, rules, guidelines, or policies.

        9.      Please provide all documents relating to assessments of potential fraud,
interference, or irregularities during the 2020 election.
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      10.      Please provide all documents relating to complaints or concerns by any prosecutor
from DOJ, the Special Counsel’s Office, or any federal law enforcement agent relating to the
conduct of the investigations of President Trump, the 2020 election, or President Biden.

        11.    Please provide all documents related to views and opinions expressed by
Department of Justice personnel, including from the Public Integrity Section and National Security
Division, discouraging, disagreeing with, or resisting investigations of election fraud, interference
(including foreign interference), anomalies, or irregularities related to the 2020 election.

        12.     Please provide all documents related to or reflecting decisions by the Department
of Justice, federal law enforcement, state law enforcement, election officials, or other government
officials declining or refusing a review or investigation of election fraud, interference (including
foreign interference), anomalies, or irregularities related to the 2020 election.

         13.     Please provide all documents that the Special Counsel’s Office will rely upon at
trial to argue that there was no fraud in the 2020 election.

       14.     Please provide all documents indicating the acceptance of non-outcome
determinative fraud within federal or state government elections.

       15.     Please provide all documents defining “outcome determinative fraud.”

        16.     Please provide all documents authored or reviewed by attorneys that support the
legality of any action alleged in the Indictment.

        17.     Please provide all audits of election results, vote tabulation, vote submission, or
related election activities performed by State governments named in the Indictment.

        18.   Please provide all statutes, rules, or policies regarding election audit procedures of
the States named in the Indictment.

       19.     Please provide all documents regarding any assessments of the opportunity or lack
of opportunity for fraud or foreign interference in the 2020 election.

       20.     Please provide all documents regarding State Legislature disagreement with any
court decisions regarding the 2020 election.

        21.    Please provide all documents regarding audits, checks, inspections, or reviews to
ensure the integrity of mail-in ballots and their compliance with state laws and regulations.

        22.      Please provide all documents regarding the compromise, diminishment, or
lowering of the standards for mail-in ballots and their compliance with state laws and regulations
related to the 2020 election.
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       23.     Please provide all documents reflecting legal opinions relating to mail-in ballots.

         24.     Please provide all documents, including communications, memorandums, and
opinions (whether formal written opinions, drafts thereto, or informal analyses), of the Department
of Justice Office of Legal Counsel concerning the Electoral Count Act, election fraud, any
litigation related to the 2020 election, or any advice provided directly or indirectly to any Executive
Branch official concerning the outcome of the 2020 election.

       25.     Please identify all Capitol Police Officers present at the Capitol on January 6, 2021,
and provide all interview notes (including rough notes), statements, recordings, or memoranda of
those Capitol Police Officers. If any interviews were not memorialized, please explain why that
was not done.

        26.     The discovery contains some FBI 302s for investigations related to events at the
Capitol on January 6, 2021. Please provide all FBI 302s, reports (including FD-1057s), and other
memoranda for those investigations, including investigations relating to foreign interference and
efforts by foreign actors to support and exacerbate events at the Capitol on January 6, 2021. If the
reports or memoranda are not available, please explain why.

        27.    All exhibits, including audio, software, or video files, referenced during any grand
jury testimony or presentation.

       28.    Please provide all documents relating to potential mishandling of classified
information by Mike Pence and any other potential witness in this case.

        29.    Please provide all documents—including drafts and communications regarding
revisions, and source materials—relating to the November 12, 2020 “Joint Statement from
Elections Infrastructure Government Coordinating Council & the Election Infrastructure Sector
Coordinating Executive Committees” by CISA and others.

        30.     Please provide all documents—including drafts and communications regarding
revisions, and source materials—relating to the unclassified version of the Intelligence Community
Assessment titled “Foreign Threats to the 2020 US Federal Elections” (SCO-00723593), including
the “Minority View” reflected in the Assessment.

        31.    Please provide all documents—including drafts and communications regarding
revisions, and source materials—relating to the DOJ-DHS Joint Report on “Foreign Interference
Targeting Election Infrastructure or Political Organization, Campaign, or Candidate Infrastructure
Related to the 2020 US Federal Elections” (SCO-03668448), including:

                a.    The “FBI forensic analyses; CISA cyber incident response activities, risk
analysis, and stakeholder information; IC reporting; and open-source reporting” referenced in the
report (SCO-03668449);
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               b.      All documents relating to the “[b]road Russian and Iranian campaigns”
referenced in the report (SCO-03668450);

               c.      All documents relating to “Iranian claims that sought to undermine the
public's confidence in the US election infrastructure” (SCO-03668450);

               d.      All documents relating to “incidents when Russian, Chinese, and Iranian
government-affiliated actors materially impacted the security of networks associated with or
pertaining to US political organizations, candidates, and campaigns during 2020 federal elections”
(SCO-03668450); and

                e.      Documents relating to “claims” that Venezuela, Cuba, and China “owned,
directed, or controlled election infrastructure used in the 2020 federal elections.”

       32.     With respect to the December 16, 2022 interview of John Ratcliffe, please provide:

               a.     The “50-page report” referenced during the interview (SCO-11542960 at
27);

                b.      All documents relating to the “whistleblower” referenced during the
interview (id. at 76, 88);

               c.     The “email or memo to file” referenced during the interview (id. at 126);

                 d.      The documents that Mr. Ratcliffe “reviewed” at ODNI “on May 14” of 2023
(id. at 48; see also id. at 174 (“when I received the documents at ODNI”)).

       33.      All documents relating to unauthorized and/or improper querying of FISA
databases in connection with the investigation of events in the vicinity of Washington, D.C. on
January 6, 2021. See FISC Order at 29 (Apr. 21, 2022) (“The queries were run against
unminimized Section 702 information to find evidence of possible foreign influence . . . .”),
available at https://www.intelligence.gov/assets/documents/702%20Documents/declassified/21/
2021_FISC_Certification_Opinion.pdf.

     34.   Please provide an unredacted copy of the document bearing production number
SCO-04798336.

       35.    Please identify the custodian of the folders depicted in photographs in and around
production number SCO-04798357.

       36.    Please provide all documents reflecting or relating to communications between any
component of DOJ’s Criminal Division and DOJ’s Office of the Inspector General concerning
President Trump, Jeffrey Clark, or the 2020 election.
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       37.    Please provide all documents reflecting or relating to communications between the
National Archives and Records Administration (“NARA”) and either the Special Counsel’s Office,
DOJ, or White House Counsel, including:

                a.     Communications between NARA and component(s) of DOJ responsible for
investigating election-related crimes; and

               b.     All documents relating to the Executive Privilege and the Presidential
Records Act.

       38.    Please provide all documents reflecting or relating to communications regarding
the 2020 election or President Trump between the U.S. Postal Inspector’s Office, including
Timothy Heaphy, and DOJ or the Special Counsel’s Office.

       39.     Please provide all documents relating to the “referrals” referenced by Lisa Monaco
during an interview on or about January 25, 2022.

        40.    Please provide all documents relating to the March 2021 “60 Minutes” interview of
Michael Sherwin, including all documents relating to investigations of potential violations of
applicable rules, policies, or procedures resulting from Mr. Sherwin’s participation in the
interview.

        41.    Please provide all documents relating to communications between the Special
Counsel’s Office and the United States House Select Committee on the January 6 Attack,
established by H. Res. 503, 117th Cong. (2021) (the “House Select Committee”).

        42.  Please provide all documents related to the loss, destruction, and lack of retention
of any documents or evidence by the Office of the Special Counsel, the Department of Justice, the
White House, or the House Select Committee, related to events at the U.S. Capitol on January 6,
2021.

       43.    Please provide all documents relating to communications or coordination by the
Special Counsel’s Office and DOJ with any of the Biden Administration, the Biden Campaign,
Hunter Biden, the Biden family, the Biden White House, or any person representing Joe Biden.

       44.     Please provide all documents regarding Department of Justice policy regarding a
prosecutor or special counsel signing or executing an indictment or other official records without
having fully or properly executed the oath of office.

        45.    Please provide all documents referenced by General Mark Milley at pages 10 and
169 of the transcript of his November 17, 2021 testimony before the House Select Committee.

       46.     Please provide all documents relating to briefings provided to President Trump
regarding:
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               a.      Election security issues, prior to or after the 2020 election; or

              b.      Any sort of foreign influence efforts by foreign state or non-state actors,
including but not limited to briefing summaries reflected in emails involving Beth Sanner and
Edward Gistaro.

        47.    Please provide all documents relating to President Trump’s daily schedule for the
period from October 1, 2020 through January 20, 2021, including scheduling materials, itineraries,
and summaries of President Trump’s activities, including all “Daily Diary” documents (E.g.,
SCO-02294198), and all communications involving the Office of Presidential Scheduling (using,
for example, the email address scheduling@who.eop.gov).

       48.     Please provide all emails involving Beth Sanner or Edward Gistaro.

        49.   Please provide all rough notes, working papers, recordings, reports, and statements
of law enforcement agents or officers pertaining to this or related investigations.

       50.      Please identify any statements by any witness, prospective witness, or non-witness
declarant that the prosecution team knows or should know are false.

       51.      Please identify statements made by any law enforcement official to any witness,
prospective witness, or non-witness declarant suggesting that any member of the prosecution team
tended to doubt the individual’s credibility or the veracity of statements he or she has made that is
relevant to the allegations in the indictment.

        52.   Please provide all information not otherwise requested that might potentially reflect
either the motivation of a witness, prospective witness, or non-witness declarant to favor the
government or be biased against President Trump.

       53.   Please provide all prior statements, communications, or testimony by FBI Special
Agent Jamie Garman related to President Trump.

       54.     Please provide Agent Garman’s personnel file.

       55.     Please provide all documents reflecting statements by any member of the
prosecution team indicating an intent or effort to stop or hinder President Trump from becoming
President of the United States.

        56.   We have found many redacted documents in the discovery production. There are
likely many more because we cannot search for redactions. For each of these redactions, please
explain why the document was redacted and provide the complete document.

        57.     Please identify any documents within the discovery production that have been
edited or altered from their original content or format.
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      58.     Please confirm that you have conducted a case-file review consistent with Justice
Manual § 9-5.002.

       59.     Please confirm that your review of materials potentially subject to the Jencks Act
and Giglio has included all electronic facilities used by each witness, including both classified and
unclassified email accounts, classified and unclassified chat and messaging programs, personal
email accounts, personal phones, and personal messaging apps.


       We expect to submit additional questions and requests on a rolling basis. Please let us
know if you would like to discuss any of these issues.

                                                      Respectfully Submitted,




                                                      John F. Lauro
                                                      Gregory M. Singer
                                                      Filzah I. Pavalon
                                                      LAURO & SINGER

                                                      Todd Blanche
                                                      Emil Bove
                                                      Stephen Weiss
                                                      BLANCHE LAW PLLC

                                                      Attorneys for President Donald J. Trump
